                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA



UNITED STATES OF AMERICA                             )
                                                     )      Case No. 1-09-CR-142
v.                                                   )
                                                     )      COLLIER / LEE
NICHOLAS CHEATON                                     )



                              REPORT AND RECOMMENDATION


       Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on January 28, 2010.

At the hearing, defendant moved to withdraw his not guilty plea to Count One of the three-count

indictment and entered a plea of guilty to Count One of the Indictment in exchange for the

undertakings made by the government in the written plea agreement. On the basis of the record

made at the hearing, I find the defendant is fully capable and competent to enter an informed plea;

the plea is made knowingly and with full understanding of each of the rights waived by defendant;

the plea is made voluntarily and free from any force, threats, or promises, apart from the promises

in the plea agreement; the defendant understands the nature of the charge and penalties provided by

law; and the plea has a sufficient basis in fact.

       Therefore, I RECOMMEND defendant’s motion to withdraw his not guilty plea to Count

One be granted, his plea of guilty to Count One of the Indictment be accepted, the Court adjudicate

defendant guilty of the charges set forth in Count One of the Indictment, and a decision on whether




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to accept the plea agreement be deferred until sentencing. I further RECOMMEND defendant

remain in custody until sentencing in this matter. Acceptance of the plea, adjudication of guilt,

acceptance of the plea agreement, and imposition of sentence are specifically reserved for the district

judge.



                                               s/Susan K. Lee
                                               SUSAN K. LEE
                                               UNITED STATES MAGISTRATE JUDGE



                                      NOTICE TO PARTIES

         You have the right to de novo review of the foregoing findings by the district judge. Any
application for review must be in writing, must specify the portions of the findings or proceedings
objected to, and must be filed and served no later than fourteen days after the plea hearing. Failure
to file objections within fourteen days constitutes a waiver of any further right to challenge the plea
of guilty in this matter. See 28 U.S.C. §636(b).




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